Case 3:17-cv-00072-NKM-JCH Document 220 Filed 02/12/18 Page 1 of 5 Pageid#: 1133




                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                 Charlottesville Division

  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, TYLER MAGILL, APRIL
  MUNIZ, HANNAH PEARCE, MARCUS
  MARTIN, NATALIE ROMERO, CHELSEA
  ALVARADO, and JOHN DOE,

                                 Plaintiffs,

  v.

  JASON KESSLER, RICHARD SPENCER,
  CHRISTOPHER CANTWELL, JAMES
  ALEX FIELDS, JR., VANGUARD        Civil Action No. 3:17-cv-00072-NKM
  AMERICA, ANDREW ANGLIN,
  MOONBASE HOLDINGS, LLC, ROBERT
  “AZZMADOR” RAY, NATHAN DAMIGO,
  ELLIOT KLINE a/k/a/ ELI MOSELY,
  IDENTITY EVROPA, MATTHEW
  HEIMBACH, MATTHEW PARROTT a/k/a
  DAVID MATTHEW PARROTT,
  TRADITIONALIST WORKER PARTY,
  MICHAEL HILL, MICHAEL TUBBS,
  LEAGUE OF THE SOUTH, JEFF SCHOEP,
  NATIONAL SOCIALIST MOVEMENT,
  NATIONALIST FRONT, AUGUSTUS SOL
  INVICTUS, FRATERNAL ORDER OF THE
  ALT-KNIGHTS, MICHAEL “ENOCH”
  PEINOVICH, LOYAL WHITE KNIGHTS OF
  THE KU KLUX KLAN, and EAST COAST
  KNIGHTS OF THE KU KLUX KLAN a/k/a
  EAST COAST KNIGHTS OF THE TRUE
  INVISIBLE EMPIRE,

                                 Defendants.


                                               NOTICE

         Pursuant to Local Rule 11(b) and Pre-Trial Order ¶ 11 (Docket Entry “DE” 101),

  Plaintiffs Sines et al., by counsel, respectfully advise the Court that all parties who had properly

  appeared in the case as of the filing of Doe Plaintiffs’ unopposed Motion to Strike Defendant
Case 3:17-cv-00072-NKM-JCH Document 220 Filed 02/12/18 Page 2 of 5 Pageid#: 1134




  Fields’ Untimely Opposition to Motion to Proceed Under Pseudonyms (DE 164) (“Motion”),

  except Defendant Peinovich, agree the Motion is ripe for decision without a hearing. Defendant

  Peinovich objects, notwithstanding he has not moved for a hearing, the Motion is unopposed,

  and he did not file the underlying opposition at issue.



         Dated: February 12, 2018                       Respectfully submitted,

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                                                   2
Case 3:17-cv-00072-NKM-JCH Document 220 Filed 02/12/18 Page 3 of 5 Pageid#: 1135




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  Counsel for Plaintiffs




                                         3
Case 3:17-cv-00072-NKM-JCH Document 220 Filed 02/12/18 Page 4 of 5 Pageid#: 1136




                                  CERTIFICATE OF SERVICE

         I hereby certify that on February 12, 2018, I filed the foregoing with the Clerk of Court

  through the CM/ECF system, which will send a notice of electronic filing to:

  Justin Saunders Gravatt
  David L. Hauck
  David L. Campbell
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  Christopher Cantwell




                                                  2
Case 3:17-cv-00072-NKM-JCH Document 220 Filed 02/12/18 Page 5 of 5 Pageid#: 1137




          I further hereby certify that on February 12, 2018, I also served the following non-ECF

  participants, via U.S. mail, First Class and postage prepaid, addressed as follows:



  Loyal White Knights of the Ku Klux Klan              Moonbase Holdings, LLC
  a/k/a Loyal White Knights Church of the              c/o Andrew Anglin
  Invisible Empire, Inc.                               P.O. Box 208
  c/o Chris and Amanda Barker                          Worthington, OH 43085
  P.O. Box 54
  Pelham, NC 27311                                     Andrew Anglin
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  Richard Spencer                                      Worthington, OH 43085
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  Alexandria, VA 22314                                 East Coast Knights of the Ku Klux Klan
  -and-                                                a/k/a East Coast Knights of the True
  P.O. Box 1676                                        Invisible Empire
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  Michael Peinovich
  a/k/a Michael “Enoch” Peinovich                      Fraternal Order of the Alt-Knights
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